         Case
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 1                       UNITED STATES DISTRICT COURT
 2                            DISTRICT OF NEVADA
                                             -OOO-
 3
      UNITED STATES OF AMERICA,
 4
                                Plaintiff,       CASE NO: 2:17-cr-00205-APG-GWF
 5
         vs.
 6
      CAMILO Q. PRIMERO, and
      AURORA S. BELTRAN,                                  FINDINGS OF FACT
 7
                                Defendants.
 8
            Based on the pending Stipulation of counsel, and good cause appearing
 9
     therefore, the Court finds that:
10
            1.    Currently pending before the Court is the Government’s Motion to
11
     Revoke Pretrial Release and Detain Defendants Primero and Beltran Pending Trial
12
     [ECF No. 22]. The Court has set a hearing on the motion for August 28, 2017 at 3:00
13

14   p.m.

15          2.    The undersigned counsel for the Government is scheduled to be out of

16   the jurisdiction on August 28, 2017, and unavailable to attend the hearing. Due to

17   the fact-sensitive nature of the current motion practice and Government counsel’s

18   unique familiarity with those facts, the hearing is not easily covered by another

19   Assistant United States Attorney. Should the Court have further questions about the

20   facts of the case or the motion, undersigned counsel is in the best position to provide

21   that information.

22

23                                           4

24
         Case
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 1         3.        Defendant Primero’s counsel has an out of state appearance on

 2   September 6, 2017, so the parties request a date sometime after September 7, 2017.

 3         4.        Defendants Primero and Beltran are out of custody and do not oppose

 4   this request.
 5
           5.        This is the first request for a continuance filed in this matter.
 6

 7                                             ORDER

 8         IT IS FURTHER ORDERED that the hearing on the Government’s Motion to

 9   Revoke Pretrial Release and Detain Defendants Primero and Beltran Pending Trial

     [ECF No. 22] in United States v. Camilo Q. Primero and Aurora S. Beltran, 2:17-cr-
10
     00205-APG-GWF, previously scheduled for August 28, 2017 at 3:00 p.m. is vacated
11
     and continued until ______________________
                          September 18, 2017    at _________.
                                                   9:30 a.m. in Courtroom 3A
12

13   Dated this 24th day of August, 2017
14

15
                                                       By: _______________________
16                                                        JUDGE GEORGE W. FOLEY
                                                          United States Magistrate Judge
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